Case No. 1:20-cv-00694-PAB-MDB Document 249-3 filed 02/05/23 USDC Colorado pg 1
                                    of 7




                            Exhibit 3
Case No. 1:20-cv-00694-PAB-MDB Document 249-3 filed 02/05/23 USDC Colorado pg 2
                                    of 7
Case No. 1:20-cv-00694-PAB-MDB Document 249-3 filed 02/05/23 USDC Colorado pg 3
                                    of 7
Case No. 1:20-cv-00694-PAB-MDB Document 249-3 filed 02/05/23 USDC Colorado pg 4
                                    of 7
Case No. 1:20-cv-00694-PAB-MDB Document 249-3 filed 02/05/23 USDC Colorado pg 5
                                    of 7
Case No. 1:20-cv-00694-PAB-MDB Document 249-3 filed 02/05/23 USDC Colorado pg 6
                                    of 7
Case No. 1:20-cv-00694-PAB-MDB Document 249-3 filed 02/05/23 USDC Colorado pg 7
                                    of 7
